          Case 4:14-cv-00303-JM Document 18 Filed 10/31/14 Page 1 of 3



                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DIVISION

FREDA A. TAYLOR                                                           PLAINTIFF

VS.                                 CASE NO: 4:14CV303-JMM

ASSOCIATION OF ARKANSAS COUNTIES
DEBBIE NORMAN
CHRIS VILLINES                                                        DEFENDANTS

     PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE
   RESPONSE TO DEFENDANT’S MOTION TO DISMISS AND FOR A
                 MORE DEFINATE STATEMENT

        COMES now the Plaintiff, Freda Taylor, by and through her attorney,

Teresa Bloodman, and moves this Court for an extension of time to file a response

to the defendant’s motion to dismiss and for a more definite statement and as

the basis for said motion states:

        1. That Plaintiff’s response is due to be filed in this matter on October 31,

2014.

        2. That counsel needs additional time to complete and file said response due

to recent computer difficulties on the morning of Tuesday, October 28, 2014,

which have frustrated the ability to complete the response.

        3. That on Tuesday morning, the undersigned took her computer to a

technician for repair and was advised that a virus had infected the hard drive,

thereby destroying files and deleting operating programs from her computer.


                                           1
           Case 4:14-cv-00303-JM Document 18 Filed 10/31/14 Page 2 of 3



      4. The undersigned was advised by the technician that he had to order

parts for the computer to restore the operating system and recover deleted files.

      5. The technician has not completed the repair, yet has communicated that

the repair and return will be completed by Monday, November 3, 2014.

      6. The undersigned requests an extension four (4) days, or until Tuesday,

November 4, 2014, to complete and file the response.

      7. That movant makes this motion in good faith and is not made for the

purposes of any delay or other illegitimate purposes.

      8.    That the undersigned, via email, communicated the need to request an

extension to opposing counsel prior to filing this motion.

      9. That this motion is in the best interest of justice.

      10. That the defendant will not be prejudiced by the extension.

      11. It is expected that the undersigned will be able to complete and file said

response with the extension of an additional four (4) days or until Tuesday,

November 4, 2014.

           WHEREFORE, the undersigned respectfully requests this Court to grant

this motion for an extension of time to respond to the motion to dismiss and for a

more definite statement of four (4) days or until Tuesday, November 4, 2014, in

which to complete and file plaintiff’s response and for all other proper relief

deemed proper and just.


                                          2
        Case 4:14-cv-00303-JM Document 18 Filed 10/31/14 Page 3 of 3



                                     Respectfully Submitted,

                                     /s/Teresa Bloodman# 2005055
                                     Attorney for Plaintiff
                                     P.O. Box 13641
                                     Maumelle, AR 72113
                                     Telephone: (870) 550-1940
                                     teresabloodman@yahoo.com



                            CERTIFICATE OF SERVICE

I, Teresa Blood man, hereby certify that on this 31st day of October 2014, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF
System, which will send notification of such filing to all CM/ECF participating
counsel of record listed below; and I further certify that I have mailed the
document, via U.S. Mail, postage prepaid, to all non CM/ECF participants listed
below:

William Stuart Jackson
Attorney for Defendant
WRIGHT, LINDSEY & JENNINGS LLP
200 West Capitol, Suite 2300
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                                                  /s/Teresa Bloodman




                                        3
